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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

                                         )
THE MEDICINES COMPANY,                   )     No. 1:11-CV-01285
                                         )
                  Plaintiff,             )     Hon. Amy J. St. Eve
                                         )
            v.                           )     Hon. Susan E. Cox, Magistrate Judge
                                         )
MYLAN INC., MYLAN                        )
PHARMACEUTICALS INC., and                )
BIONICHE PHARMA USA, LLC,                )
                                         )
                  Defendants.            )


        THE MEDICINES COMPANY’S MOTION FOR A BILL OF COSTS
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          In accordance with Federal Rule of Civil Procedure 54(d), Local Rule 54.1(a), and the

Court’s November 10, 2014 Order (ECF No. 614), The Medicines Company respectfully

requests that the Court tax the costs found in the attached bill of costs (Exhibit 1)1 against

defendants Mylan Inc., Mylan Pharmaceuticals Inc., and Bioniche Pharma USA, LLC

(collectively “Mylan”). Under the applicable regulations, statutes, and case law, The Medicines

Company is seeking taxable costs of $260,324.44.

I.        ARGUMENT

          A.      Rule 54(d)(1) Provides for the Award of Reasonable
                  Costs to The Medicines Company, the Prevailing Party

          Rule 54(d)(1) provides that “[u]nless a federal statute, these rules, or a court order

provides otherwise, costs—other than attorney’s fees—should be allowed to the prevailing

party.” See Fed. R. Civ. P. 54(d)(1). On October 27, 2014, this Court issued an Opinion and

Order holding that Mylan’s proposed generic bivalirudin drug product infringed the asserted

claims of The Medicines Company’s ’727 patent and that the asserted claims were not invalid or

unenforceable. ECF No. 590 at 80. The Court entered an Amended Final Judgment on

November 12, 2014. ECF No. 615. Among other things, the Court’s final judgment enjoined

Mylan from making its proposed generic drug product. Id. at 2-3. Accordingly, The Medicines

Company is the “prevailing party” and is entitled to recover certain taxable costs against Mylan.

See, e.g., In re Omeprazole Patent Litig., M-21-81, 2004 U.S. Dist. LEXIS 15619, at *3

(S.D.N.Y. Aug. 9, 2004) (even though defendants successfully invalidated certain asserted

claims, “the finding that the Defendants infringed two of Astra’s [other] patents and that [Astra

was] entitled to an injunction was an overwhelming victory for Astra; one that leads inexorably

to the conclusion that Astra was the prevailing party in this [Hatch-Waxman] litigation.”), aff’d,


1
    “Exhibit __” or “Ex. __” refers to the exhibits in the accompanying declaration of Porter F. Fleming.


                                                      1
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Astra Aktiebolag v. Andrx Pharms., Inc. (In re Omeprazole Patent Litig.), 483 F.3d 1364, 1376

(Fed. Cir. 2007).

       B.        Itemization of The Medicines Company’s Reasonable Costs

       As summarized in the table below, The Medicines Company seeks taxable costs totaling

$260,324.44.

                  Table 1 - Summary of The Medicines Company’s Requested Costs

                                      Taxable Cost                     Costs Requested

               § 1920(1): Fees of the Clerk and Marshal                $845.00
               § 1920(2): Fees of the Court Reporter                   $81,568.20
               § 1920(3): Fees for Witnesses                           $55,356.76
               § 1920(4): Fees for Exemplification and Copies          $122,554.48
               Total                                                   $260,324.44

       C.        Fees Under 28 U.S.C. § 1920(1): Fees of the Clerk and Marshal

       The Medicines Company seeks a total of $845.00 for “fees of the clerk and marshal”

($495.00 for service fees and $350.00 for the complaint filing fee).

       Service fees “may not exceed amounts charged by the United States Marshal Service,

which is $55.00 per hour, as well as any travel costs and out-of-pocket expenses.” LG Elecs.

U.S.A. v. Whirlpool Corp., No. 08 C 0242, 2011 U.S. Dist. LEXIS 121361, at *6 (N.D. Ill. Oct.

20, 2011) (St. Eve, J). Accordingly, The Medicines Company seeks $55.00 for each instance

that it used a process server to serve: (i) the Complaint on the three defendants; and

(ii) deposition and trial subpoenas on third parties or third-party witnesses. Although The

Medicines Company used private process servers that charged higher fees ($1,873.50) (see Ex.

2), The Medicines Company’s request is based on the U.S. Marshal’s rate of $55.00. As there

were nine services, the service-fee total is $495.00. The Medicines Company also seeks $350.00

for filing the Complaint. See Winniczek v. Nagelberg, 400 F.3d 503, 504-05 (7th Cir. 2005)

(docketing fees constitute “fees of the clerk” and are recoverable under § 1920(1)).



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        A summary of the requested fees for the clerk and marshal appear below in Table 2. The

supporting invoices can be found in Exhibit 2.

                                 Table 2 - Fees for the Clerk and Marshal

Date         Party or Witness             Event                            Actual Costs   Requested Costs
2/23/2011    N/A                          Docketing fee                      $350.00         $350.00
3/2/2011     Bioniche Pharma USA, LLC     Service of complaint                                $55.00
3/4/2011     Mylan Pharmaceuticals Inc.   Service of complaint               $479.50          $55.00
3/7/2011     Mylan Inc.                   Service of complaint                                $55.00
7/2/2012     Navneet Puri                 Service of deposition subpoena     $185.00          $55.00
7/2/2012     Satish Pejaver               Service of deposition subpoena     $97.50           $55.00
7/19/2012    Daniel Hoch                  Service of deposition subpoena     $96.00           $55.00
9/8/2012     Rekha Nayak                  Service of deposition subpoena     $183.50          $55.00
5/12/2014    Daniel Hoch                  Service of trial subpoena                           $55.00
                                                                             $482.00
5/16/2014    Julie Simon                  Service of trial subpoena                           $55.00
Total                                                                       $1,873.50        $845.00


        D.       Fees Under 28 U.S.C. § 1920(2): Fees of the Court Reporter

        The Medicines Company seeks a total of $81,568.20 for “fees of the court reporter”

($43,757.78 for deposition transcripts, $28,502.60 for videotaped depositions, and $9,307.82 for

trial and hearing transcripts).

                 1.       Deposition Transcripts

        A party may recover costs of deposition transcripts “necessarily obtained for use in the

case” under 28 U.S.C. §1920(2). Deposition costs in this case exceeded $80,000. However,

based on Judicial Conference rates (described below), The Medicines Company requests only

$43,757.78.

        In this litigation, The Medicines Company noticed and deposed Mylan’s disclosed

experts, key Bioniche employees/former employees, and third parties involved in the

development, formulation, and research of Mylan’s generic bivalirudin product. Mylan

disclosed 19 witnesses in its supplemental initial disclosures and the parties collectively deposed

each of these witnesses. The deposition transcripts for these and other witnesses were

reasonably necessary and the parties designated or counter-designated testimony from the




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majority of the depositions for use at trial. See ECF Nos. 412-7; 412-8; see also LG Elecs., 2001

U.S. Dist. LEXIS 121361, at *7 (“Courts award deposition charges if the deposition appears

reasonably necessary in light of the facts known at the time of the depositions.”). Mylan not

only designated 19 deposition transcripts from this litigation for use at trial, but it also designated

testimony from 15 other depositions taken in The Medicines Company’s related Angiomax®

litigations. See, e.g., ECF No. 412-8 at 6, 18, 26, 38, 48, 63, 76, 88, 91, 100, 116, 127, 135, 145,

156. These deposition transcripts were also reasonably necessary and many were: (i) analyzed

by the Court before or during trial (see, e.g., ECF Nos. 516, 520-522, 534-540); and/or (ii) listed

in the Court’s Opinion and Order (see ECF No. 590 at 7-8).

       Accordingly, The Medicines Company seeks costs related to one original (and one copy

where applicable) for each deposition transcript taken in this litigation. See N.D. Ill. LR54.1(b)

(“Except as otherwise ordered by the court, only the cost of the original of such transcript or

deposition together with the cost of one copy each where needed by counsel and, for depositions,

the copy provided to the court shall be allowed.”). The Medicines Company also seeks the costs

related to one original (and one copy where applicable) of the 15 deposition transcripts from the

other litigations that Mylan elected to designate for use at trial. See Oviedo v. Jones, No. 99 C

5216, 2004 U.S. Dist. LEXIS 16770, at *5 (N.D. Ill. Aug. 19, 2004) (“Courts have long

recognized that fees for ‘trial transcripts and transcripts from other court proceedings

necessarily obtained for use in the case’ will be awarded.” (emphasis added) (quoting Majeske v.

City of Chicago, 218 F.3d 816, 825 (7th Cir. 2000)).

               2.      Videotaped Depositions

        “Under Section 1920(2), costs for . . . video-recorded depositions . . . may be taxed to the

losing party if the video [is] necessarily obtained for use in the case.” LG Elecs., 2001 U.S. Dist

LEXIS 121361, at *9 (citations omitted). Accordingly, The Medicines Company seeks a total of


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$28,502.60 for videotaped depositions, as the costs associated with these video-recorded

depositions satisfy the requirements under Section 1920(2) and are recoverable. See Engate, Inc.

v. Esquire Deposition Servs. LLC, No. 01 C 6204, 2006 U.S. Dist. LEXIS 25927, at *6-7 (N.D.

Ill. Mar. 13, 2006). The Medicines Company’s request for video-deposition costs also includes

the cost for videos of witnesses on the parties’ “may call” and “will call” lists. See, e.g., ECF

No. 412-3 (listing three witnesses on the “Will Call” list and 14 witnesses on its “May Call” list);

ECF No. 412-4 (listing 10 witnesses on “Intend to Call” list and 18 witnesses on its “May Call”

list). The costs for these video depositions are also recoverable. See LG Elecs., 2011 U.S. Dist.

121361, at *10 (awarding Whirlpool’s videotape-deposition costs for fact witnesses and experts

listed on LG’s “may call” and “will call” trial lists); see also Top Tobacco, L.P. v. N. Atl.

Operating Co., Inc., No. 06 C 950, 2007 U.S. Dist. LEXIS 28543, at *22 (N.D. Ill. Apr. 17,

2007) (“Knowing that its opponent possessed video tapes of these depositions, it was reasonably

and necessary for North Atlantic to obtain copies. In such a hotly contested case, North Atlantic

would have been ill-advised not to do so.”).

       A summary of the requested deposition transcript and videotaped deposition costs

appears in Table 3 below. The original invoices for the deposition transcripts and video

depositions can be found in Exhibit 3. Although the actual costs for deposition and trial

transcripts were substantially more, The Medicines Company reduced its requested amount for

deposition transcripts based on the per-page rates established by the Judicial Conference, which

for the applicable time period was: $3.65 for ordinary transcripts, $6.05 for daily transcripts,

$3.05 for realtime transcripts, $0.90 for copies, and $1.20 for copies of daily transcripts. See

Maximum Transcript Rates, http://www.uscourts.gov/FederalCourts/UnderstandingtheFederal

Courts/DistrictCourts/FederalCourtReportingProgram.aspx#rates (last visited Dec. 9, 2014).




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               Table 3 - Fees of the Court Reporter (Stenographic and Video Depositions)

Date         Deponent2                     # of   $ per page   Actual            Requested      Requested
                                           Pgs                 Costs             Costs          Video Costs3
5/16/2011    Sandra Kuzmich (APP)          110    $3.65        $3,643.00         $401.50        $1,008.45
5/17/2011    Rajeshwar Motheram (APP)      248    $3.65        $1,382.40         $905.20        $437.50
5/18/2011    Gary Musso (APP)              348    $3.65        $2,103.00         $1,270.20      $902.30
5/24/2011    Steve McKinnon (APP)          203    $3.65        $1,252.88         $740.95        $393.75
5/31/2011    Anthony Flammia (APP)         397    $3.65        $2,367.00         $1,449.05      $1,079.53
6/1/2011     Lisa-Sue Wood (APP)           300    $3.65        $1,839.00         $1,095.00      $796.15
6/2/2011     James Leary (APP)             264    $3.65        $1,641.00         $963.60        $849.23
6/8/2011     Gopal Krishna (APP)           336    $3.65        $2,031.50         $1,226.40      $1,008.45
6/9/2011     Gopal Krishna (APP)           275    $3.65        $1,883.00         $1,003.75      $955.38
6/10/2011    Gopal Krishna (APP)           269    $3.65        $1,850.00         $981.85        $955.38
7/14/2011    Timothy Smith (APP)           303    $3.65        $2,338.40         $1,105.95      $1,114.61
7/15/2011    Pamela Savoy (APP)            219    $3.65        $1,469.70         $799.35        $477.69
7/21/2011    Rajeshwar Motheram (APP)      294    $3.65        $1,806.00         $1073.10       $1,061.53
5/17/2012    Martina O’Sullivan            168    $4.55        $1,554.75         $764.40        $1,204.97
5/18/2012    Daniel Robins                 212    $4.55        $1,434.65         $964.60        $1,307.19
8/21/2012    Leena Selvaraj                265    $4.55        $1,293.60         $1,205.75      $865.56
8/22/2012    Julie Simon                   358    $4.55        $1,749.30         $1,628.90      $865.56
10/17/2012   Gopal Krishna                 313    $3.65        $3,456.82         $1,142.45      $581.25
10/18/2012   Anthony Flammia               268    $3.65        $3,428.01         $978.20        $506.25
10/19/2012   Gary Musso                    362    $3.65        $3,222.524        $1,321.30      $675.00
10/25/2012   Daniel Hoch                   305    $4.55        $1,181.41         $1,181.415     $795.00
11/29/2012   Angela Green                  254    $3.65        $1,773.31         $927.10        $412.50
12/11/2012   Ruth Varden                   161    $4.55        $647.56           $647.566       $675.00
12/12/2012   Malini Sen                    237    $4.55        $935.61           $935.617       $767.00
12/18/2012   Rajeshwar Motheram            246    $3.65        $1,324.04         $897.90        $0.00
12/20/2012   Satish Pejaver                292    $4.55        $2,012.36         $1,328.60      $795.00
1/03/2013    Sandra Kuzmich                283    $3.65        $2,620.22         $1,032.95      $487.50
1/04/2013    Rekha Nayak                   328    $4.55        $2,251.76         $1,492.40      $795.00
1/09/2013    Lisa-Sue Wood                 197    $3.65        $2,115.00         $719.05        $495.00
1/15/2013    James Leary                   207    $3.65        $1,508.62         $755.55        $245.00
1/18/2013    Martha Gezzar                 152    $3.65        $1,221.85         $554.80        $0.00
1/18/2013    Timothy Smith                 180    $3.65        $1,594.53         $657.00        $0.00
2/26/2013    Gopal Krishna (Dr. Reddy’s)   131    $3.65        $624.15           $478.15        $0.00
4/09/2013    Rajeshwar Motheram            132    $3.65        $1,173.60         $481.80        $187.50
4/18/2013    Alexander Klibanov            428    $3.65        $5,492.95         $1,562.20      $880.00
4/25/2013    David Auslander               312    $4.55        $2,062.42         $1,419.60      $1,080.00
4/26/2013    Fred Regnier                  298    $4.55        $2,246.64         $1,355.90      $865.56


2
  Mylan designated deposition transcripts from The Medicines Company’s other litigations, including
  transcripts from APP Pharmaceuticals and Dr. Reddy’s litigations (noted in parentheses).
3
  The Medicines Company does not request delivery costs associated with the video depositions or
  reimbursement of any other ancillary fees related to the video depositions.
4
  Figure reflects a $539.00 credit to FLH for two electronic versions of the transcripts (“Rough ASCIII”).
5
  In circumstances such as this one where the costs permitted under the Judicial Conference ($1,387.75)
  exceed actual costs ($1,181.41), The Medicines Company requests the lower figure.
6
  The costs permitted under the Judicial Conference ($732.55) exceed actual costs ($647.56).
  Accordingly, The Medicines Company requests the lower figure.
7
  The costs permitted under the Judicial Conference ($1,078.35) exceed actual costs ($935.61).
  Accordingly, The Medicines Company requests the lower figure.


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Date           Deponent2                 # of     $ per page   Actual            Requested    Requested
                                         Pgs                   Costs             Costs        Video Costs3
4/30/2013      Nancy Linck               257      $4.55        $1,770.05         $1,169.35    $865.56
5/07/2013      Gerald J. Moffinghoff     347      $3.65        $1,321.48         $1,266.55    $431.25
5/15/2013      Ian McKeague              207      $4.55        $1,550.61         $941.85      $795.00
5/21/2013      Alan Salzberg             144      $3.65        $1,579.20         $525.60      $0.00
5/31/2013      Ivan Hofmann              196      $3.65        $1,182.20         $715.40      $500.00
6/03/2013      Anthony Flammia           201      $3.65        $1,634.56         $733.65      $385.00
6/27/2013      Sandra Kuzmich            117      $3.65        $1,392.56         $427.05      $0.00
6/28/2013      Russell Garman            145      $3.65        $1,747.06         $529.25      $0.00
Total                                    11,269                $84,710.28        $43,757.78   $28,502.60


                    3.        Trial and Hearing Transcripts

            “Under Northern District of Illinois Local Rule 54.1(b), the costs of a transcript shall not

exceed the regular copy rate established by the United States Judicial Conference.” LG Elecs.,

2011 U.S. Dist. LEXIS 121361, at *7-8 (citing N.D. Ill. LR54.1b)). Accordingly, The Medicines

Company seeks to recover costs for one original and one realtime trial transcript at Judicial

Conference rates (see Judicial Conference rates supra Part I.D.2). In this complex Hatch-

Waxman litigation, the daily and realtime trial transcripts were necessary for direct and cross-

examination of witnesses and were also relied upon to coordinate and facilitate the presentation

of exhibits to be offered into evidence. See Majeske, 218 F.3d at 825 n.3. (7th Cir. 2000). In

addition, the parties cited significant portions of the trial transcript throughout their post-trial

briefs, including in their opening post-trial briefs filed thirteen days after trial. With respect to

hearing transcripts, The Medicines Company incurred additional costs to expedite the delivery of

certain transcripts. The Medicines Company, however, only seeks costs for hearing transcripts at

the Judicial Conference rate for ordinary transcripts ($3.65 per page).

            A summary of the requested trial and hearing transcript fees appears in Table 4 below.

The original invoices can be found in Exhibit 4.




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                         Table 4 - Fees of the Court Reporter (Trial and Hearing Transcripts)

           Date(s)            Description                 # of Pgs        Actual Costs   Requested Costs
           2/28/12            Transcript of proceedings   5               $24.25         $18.25
           5/31/12            Transcript of proceedings   4               $14.60         $14.60
           7/30/12            Transcript of proceedings   49              $178.85        $178.85
           10/24/12           Transcript of proceedings   13              $47.45         $47.45
           12/11/12           Transcript of Proceedings   18              $70.74         $65.70
           1/17/13            Transcript of proceedings   14              $67.90         $51.10
           12/19/13           Transcript of proceedings   6               $29.10         $21.90
           2/10/14            Transcript of proceedings   5               $21.25         $18.25
           4/22/14            Transcript of proceedings   4               $19.40         $14.60
           5/15/14            Transcript of proceedings   32              $92.16         $92.16
           6/5/14; 6/9/14 -   Pretrial and trial          1568 daily      $8,759.418     $8,759.41
           6/13/14; 6/18/14   transcripts                 1461 realtime
           11/10/14           Transcript of proceedings   7               $50.75         $25.55
           Total                                                          $9,375.86      $9,307.82


           E.       Fees Under 28 U.S.C. § 1920(3): Witnesses Fees

           The Medicines Company seeks a total of $55,356.76 for fees for witnesses ($23,804.26

for witness fees, and $31,552.50 for expert deposition fees).

                    1.        Witness Fees for Attendance at Court or a Deposition

           Section 1920(3) authorizes the recovery of witness fees for attendance at court or at a

deposition. T.D. v. La Grange Sch. Dist. No. 102, 349 F.3d 469, 480-81 (7th Cir. 2003). While

Section 1821(b) limits those fees to $40.00 per day for each day’s attendance, it also “allows for

the costs associated with ‘the time necessarily occupied in going to and returning from the place

of attendance at the beginning and end of such attendance or at any time during such

attendance.’” Black & Decker v. Bosch Tools, 04 C 7955, 2006 U.S. Dist. LEXIS 94555, at *8

(N.D. Ill. Nov. 20, 2006) (St. Eve, J.) (quoting 28 U.S.C. § 1821(b)). In addition, “[s]ubsistence

costs for witnesses are recoverable when ‘an overnight stay is required at the place of attendance

because such place is so far removed from the residence of such witness as to prohibit return

thereto from day to day.’” Id. at 971. “A subsistence allowance for a witness ‘shall be paid in an

amount not to exceed the maximum per diem allowance’ set by the General Services

8
    Before trial, the parties agreed to share costs of daily and realtime trail transcripts. The $8,759.41 cost
    reflects The Medicines Company’s portion of the trial-transcript costs.


                                                             8
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Administration.” Trading Techs. Int’l, Inc. v. eSpeed, Inc., 750 F. Supp. 2d 962, 973 (N.D. Ill.

2010) (citing 28 U.S.C. § 1821(d)(2)). In June 2014, the per diem rate for lodging in Chicago

was $186.00 per day. See FY 2014 Per Diem Rates for Illinois, http://www.gsa.gov/portal/

category/100120 (last visited Dec. 9, 2014). The GSA rate for meals and incidental expenses in

Chicago in June 2014 was $71.00. Id. As with lay witnesses, costs for witness fees, lodging,

meals and incidentals are recoverable for expert witnesses as well. “Under 28 U.S.C. §§ 1920(3)

and 1821(d)(1), a prevailing party is entitled to subsistence expenses for expert witnesses, which

include accommodation expenses.” Trading Techs., 750 F. Supp. 2d at 973. The eight trial

witnesses traveled to Chicago and collectively stayed 34 nights. See Table 5 below. At an

average room rate of $339.89 per night, their rooms cost over $11,000. The Medicines

Company, however, seeks $6,324.00 for these rooms, a rate calculated by applying the per diem

rate for lodging. The trial subsistence costs for meals were also higher than the per diem rate.

See Ex. 5 (showing the average meal rates of $83.95 per day). Accordingly, The Medicines

Company has reduced the amounts requested to the per diem allowance.

           As shown in Table 5 below, The Medicines Company seeks a total of $23,804.26 for

these costs. The supporting invoices appear in Exhibit 5.

                     Table 5 - Witness Fees for Attendance at Court or a Deposition
                                                            Statutory     Statutory    Statutory
                                                 Travel    Subsistence   Subsistence   Per Diem      Total
    Date            Witness         Purpose
                                                 Costs        Costs:        Costs:      Witness    Requested
                                                             Lodging        Meals       Fee $40
10/17/2012     Gopal Krishna      Deposition   $0          $0            $0            $40         $40.00
6/8/2014       Gopal Krishna      Trial        $1,291      $186          $71           $0          $1,548.00
6/9/2014       Gopal Krishna      Trial        $0          $186          $71           $40         $ 297.00
6/10/2014      Gopal Krishna      Trial        $0          $186          $71           $40         $ 297.00
6/11/2014      Gopal Krishna      Trial        $0          $186          $71           $40         $ 297.00
6/12/2014      Gopal Krishna      Trial        $0          $186          $71           $40         $ 297.00
6/13/2014      Gopal Krishna      Trial        $0          $0            $71           $40         $111.00
10/18/2012     Anthony Flammia    Deposition   $0          $0            $0            $40         $40.00
6/3/2013       Anthony Flammia    Deposition   $0          $0            $0            $40         $40.00
6/8/2014       Anthony Flammia    Trial        $1,131.89   $186          $71           $40         $1,428.89




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                                                              Statutory     Statutory    Statutory
                                                  Travel     Subsistence   Subsistence   Per Diem      Total
     Date          Witness           Purpose
                                                  Costs         Costs:        Costs:      Witness    Requested
                                                               Lodging        Meals       Fee $40
6/9/2014      Anthony Flammia      Trial        $0           $0            $71           $40         $111.00
10/19/20129   Gary Musso           Deposition   $514         $295          $13.70        $40         $862.70
6/8/2014      Gary Musso           Trial        $1,486.69    $186          $71           $40         $1,783.69
6/9/2014      Gary Musso           Trial        $0           $186          $71           $40         $297.00
6/10/2014     Gary Musso           Trial        $0           $0            $71           $40         $111.00
11/29/2012    Angela Green         Deposition   $0           $0            $0            $40         $40.00
12/18/2012    Rajeshwar Motheram   Deposition   $0           $0            $0            $40         $40.00
4/9/2013      Rajeshwar Motheram   Deposition   $0           $0            $0            $40         $40.00
6/8/2014      Rajeshwar Motheram   Trial        $1,340.25    $186          $71           $0          $1,597.25
6/9/2014      Rajeshwar Motheram   Trial        $0           $186          $71           $40         $297.00
6/10/2014     Rajeshwar Motheram   Trial        $0           $186          $71           $40         $297.00
6/11/2014     Rajeshwar Motheram   Trial        $0           $186          $71           $40         $297.00
6/12/2014     Rajeshwar Motheram   Trial        $0           $0            $71           $40         $111.00
1/3/2013      Sandra Kuzmich       Deposition   $0           $0            $0            $40         $40.00
6/27/2013     Sandra Kuzmich       Deposition   $0           $0            $0            $40         $40.00
6/8/2014      Sandra Kuzmich       Trial        $1543.00     $186          $71           $0          $1,800.00
6/9/2014      Sandra Kuzmich       Trial        $0           $186          $71           $40         $297.00
6/10/2014     Sandra Kuzmich       Trial        $0           $186          $71           $40         $297.00
6/11/2014     Sandra Kuzmich       Trial        $0           $186          $71           $40         $297.00
6/12/2014     Sandra Kuzmich       Trial        $0           $186          $71           $40         $297.00
6/13/2014     Sandra Kuzmich       Trial        $0           $186          $71           $40         $297.00
6/17/2014     Sandra Kuzmich       Trial        $943         $186          $0            $0          $1,129.00
6/18/2014     Sandra Kuzmich10     Trial        $0           $0            $40.10        $40         $80.10
1/9/2013      Lisa-Sue Wood        Deposition   $0           $0            $0            $40         $40.00
1/15/2013     James Leary          Deposition   $0           $0            $0            $40         $40.00
4/18/2013     Alexander Klibanov   Deposition   $997.63      $241          $71           $40         $1,349.63
6/8/2014      Alexander Klibanov   Trial        $793.00      $186          $71           $40         $1,090.00
6/9/2014      Alexander Klibanov   Trial        $0           $186          $71           $40         $297.00
6/10/2014     Alexander Klibanov   Trial        $0           $186          $71           $40         $297.00
6/11/2014     Alexander Klibanov   Trial        $0           $186          $71           $40         $297.00
6/12/2014     Alexander Klibanov   Trial        $0           $186          $71           $40         $297.00
6/13/2014     Alexander Klibanov   Trial        $0           $0            $71           $40         $111.00
5/7/2013      Gerald Mossinghoff   Deposition   $0           $0            $0            $40         $40.00
6/8/2014      Gerald Mossinghoff   Trial        $1,144.00    $186          $71           $0          $1,401.00
6/9/2014      Gerald Mossinghoff   Trial        $0           $186          $71           $0          $257.00
6/10/2014     Gerald Mossinghoff   Trial        $0           $186          $71           $0          $257.00
6/11/2014     Gerald Mossinghoff   Trial        $0           $186          $71           $0          $257.00
6/12/2014     Gerald Mossinghoff   Trial        $0           $186          $71           $0          $257.00
5/21/2013     Alan Salzberg        Deposition   $0           $0            $0            $40         $40.00
6/8/2014      Alan Salzberg11      Trial        $986         $186          $71           $40         $1,283.00
6/9/2014      Alan Salzberg        Trial        $0           $186          $71           $40         $297.00
6/10/2014     Alan Salzberg        Trial        $0           $186          $71           $40         $297.00
6/11/2014     Alan Salzberg        Trial        $0           $186          $71           $40         $297.00
6/12/2014     Alan Salzberg        Trial        $0           $186          $71           $40         $297.00
6/13/2014     Alan Salzberg        Trial        $0           $0            $71           $40         $111.00
6/28/2013     Russell Garman       Deposition   $0           $0            $0            $40         $40.00
Total                                           $12,170.46   $6,860.00     $2,893.80     $1,880.00   $23,804.26



9
  Actual subsistence costs for the lodging were higher than the per diem rate in New York City on
   October 19, 2012, which was $295.00 per day and The Medicines Company requests the lower rate.
10
   Actual subsistence costs were less than the statutory subsistence costs.
11
   Reflects a credit of $397 for a flight originally scheduled for June 12, 2014.


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                     2.     Expert Deposition Fees

             Rule 26(b)(4)(C)(i) provides that “[u]nless manifest injustice would result, the court shall

require that the party seeking discovery . . . pay the expert a reasonable fee for time spent in

responding to discovery.” Fed. R. Civ. P. 26(b)(4)(C)(i). “Courts in this district have concluded

that costs associated with the time spent preparing for a deposition are recoverable, as well as the

time attending the deposition.” LG Elecs., 2011 U.S. Dist. LEXIS 121361 at *13-14 (citations

omitted). The Medicines Company seeks to recover $31,552.50 for reasonable expert witness

fees, which includes the experts’ time preparing for and attending each of their depositions. See

Ex. 6. The amount requested is significantly less than the actual costs ($90,266.60).

             The hourly rates charged by The Medicines Company’s experts are reasonable given the

witness’s areas of expertise,12 the necessary education and training required to provide the expert

insight, the prevailing rates for comparably respected available experts, and the nature, quality

and complexity of the responses provided. Profile Prods., LLC v. Soil Mgmt. Techs., Inc., 155 F.

Supp. 2d 880, 886 (N.D. Ill. 2001). Furthermore the requested costs for deposition preparation

do not exceed the 3 to 1 preparation-to-deposition time ratio and are thus reasonable. See, e.g.,

LG Elecs., 2011 U.S. Dist. LEXIS 121361, at *14.

                                 Table 6 - Expert Deposition Preparation Fees

                           Depositio   Hourl    Time Spent Preparing   Length of                   Requested
       Expert Witness                                                               Actual Cost
                            n Date     y Rate      for Deposition      Deposition                    Cost

     Alexander Klibanov   4/18/2013    $900     16 hours               8 hours      $72,896.60    $22,125.00
                                                                       35 minutes
     Gerald Mossinghoff   5/17/2013    $960     5 hours                7 hours      $11,520.00    $6,720.00
                                                                       41 minutes
     Alan Salzberg        5/21/2013    $450     3 hours                3 hours      $5,850.00     $2,707.50
                                                                       1 minute
     Total                                                                          $90,266.60    $31,552.50

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      Exhibit 7 contains the experts’ CVs. Dr. Klibanov is and has been a Professor of Chemistry and
     Bioengineering at MIT for over 33 years. Dr. Salzberg obtained his Ph.D. in statistics from Wharton
     and has taught courses in statistics at the University of Pennsylvania and American University. The
     Honorable Gerald Mossinghoff served as the Commissioner of Patents and Trademarks.


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       F.      28 U.S.C. § 1920(4): Fees for Exemplification and Copies

       The Medicines Company seeks a total of $122,554.48 for exemplification and copies

($42,841.39 for exemplification fees and $79,713.09 for copying fees).

               1.     Fees for Exemplification

       Section 1920(4) permits the Court to tax as costs “fees for exemplification and the costs

of making copies of any materials where the copies are necessarily obtained for use in the case.”

28 U.S.C. §1920(4); see also Tchemkou v. Mukasey, 517 F.3d 506, 513 (7th Cir. 2008). “The

Seventh Circuit has stated that ‘exemplification’ must be read broadly to include ‘a wide variety

of exhibits and demonstrative aids’ which includes standard charts and graphs as well as high-

end ‘computer-based, multi-media displays.’” Horizon Hobby, Inc. v. Ripmax Ltd., No. 07-CV-

2133, 2009 U.S. Dist. LEXIS 96255, at *22 (C.D. Ill. Oct. 15, 2009) (citing Cefalu v. Vill. of Elk

Grove, 211 F.3d 416, 427-28 (7th Cir. 2000)). “Under Cefalu, such expenses encompass not

only graphs and charts, but also sophisticated multi-media presentations, allowing for recovery

of expenses for use of recent technological advances.” Interclaim Holdings Ltd. v. Ness, Motley,

Loadholt, Richardson & Poole, No. 00 C 7620, 2004 U.S. Dist. LEXIS 4470, at *11 (N.D. Ill.

Mar. 22, 2004).

       The Medicines Company seeks $42,841.39 for exemplification work to create and

present evidence at trial. The Medicines Company: (i) hired International Bonded Couriers to

send its materials from New York to Chicago; (ii) hired Aquipt to set up the courtroom with

technical equipment (shared costs with Mylan); and (iii) and retained Infographics for its

exemplification work at trial. See Ex. 8. In addition to bringing equipment that was used at trial,

Infographics created PowerPoint slides and demonstratives to illustrate complex pharmaceutical

and technical concepts for the Court. See also Telular Corp. v. Mentor Graphics Corp., No. 01



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C 431, 2006 U.S. Dist. LEXIS 44848, at *22 (N.D. Ill. June 16, 2006) (agreeing with the

prevailing party that “the demonstrative exhibits ‘greatly assisted in communicating rather

complex engineering concepts and other relevant issues to the jury,’ and that the ‘enlarged

exhibits [were] used often throughout the trial [and] … throughout Mentor’s closing argument”).

       In support, The Medicines Company has submitted the invoices for the various third-

party vendors (see Ex. 8). Such requests have been awarded under similar circumstances. See

LG Elecs., 2011 U.S. Dist. LEXIS 121361 at *20-21 (sustaining a request of $109,833.75 for

substantiated cost requests for technological consultants); see also Haroco, Inc. v. Am. Nat’l

Bank & Trust Co. of Chicago, 38 F.3d 1429, 1441 (7th Cir. 1994) (sustaining a request of

$12,389.71 for exemplification costs that included the expense of graphic services).

               2.      Fees for Copies

       Section 1920(4) allows the Court to tax as costs fees for copying materials necessarily

obtained for use in the case. 28 U.S.C § 1920(4). The Medicines Company seeks $79,713.09 in

photocopying costs.

       First, The Medicines Company seeks $1,560.30 for copies of documents filed through the

ECF system that were provided to the Court. Although these documents frequently included

color pages and were often tabbed and bound (see LR 5.2(c)), The Medicines Company only

seeks reimbursement for the 10,402 pages filed with the Court (see Ex. 9) at Smart &

Bostjancich’s in-house copying rate of $0.15 per page for black and white copies. “‘[C]ourts in

this district have found photocopying costs between $0.10 and $0.20 per page [for black and

white copies] to be reasonable’ under Section 1940(4).” Chi. United Indus. Ltd. v. City of Chi.,

05 C 5011, 2011 U.S. Dist. LEXIS 106523, at *8 (N.D. Ill. Sept. 20, 2011). Accordingly, using

the formula of $0.15 per page, the Medicines Company requests that the Court award $1,560.30

for the costs of these copies.


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       Second, The Medicines Company asks the Court to tax as costs fees for color and black-

and-white copies used at trial totaling $68,647.79. The Medicines Company incurred third party

vendor costs in the creation of photocopies of exhibits and binders for the Court, the Law Clerk,

the Court reporters, witnesses, and opposing counsel (two sets per the parties’ agreement in the

Final Pretrial Order) (see ECF No. 412 at 6). Third-party vendor Edox charged $0.065 per page

for black-and-white copies and $0.60 per page for color copies. Ex. 10. For other copies, The

Medicines Company rented trial copying equipment. The cost of the rentals and supplemental

costs based on the number of copies printed meant that the per-copy cost for The Medicines

Company was at or below reasonable rates for black-and-white copies ($0.10 to $0.20) and the

reasonable rate for color copies ($1.25 to $1.41). See, e.g., Plyler v. Whirlpool Corp., No. 08 C

6637, 2012 U.S. Dist. LEXIS 164654, at *13 (N.D. Ill. Nov. 19, 2012) (taxing color copies at a

“reasonable rate of $1.25 per color copy (plus tax))”; Top Tobacco, 2007 U.S. Dist. LEXIS

28543, at *28 (taxing color copies at a rate of $1.41 per page). Accordingly, The Medicines

Company seeks its trial copying costs, and attaches the supporting invoices as Exhibit 10.

       Finally, Section 1920(4) permits the recovery of certain electronic-discovery costs. See

Jardin v. DATAllegro, Inc., 08-CV-1462, 2011 U.S. Dist. LEXIS 117517, at *18-19 (N.D. Ill.

Oct. 12, 2011); see also LG Elecs., 2011 U.S. Dist. LEXIS 121361, at *24-25. The Medicines

Company seeks $9,505.00 for costs related to the scanning, processing, and extracting of Optical

Character Recognition (“OCR”) used to respond to Mylan’s discovery requests and other

discovery issues. Typically, a party seeking reimbursement for e-discovery costs submits the

invoices from its e-discovery vendor. See, e.g., id. at *24. Frommer Lawrence & Haug LLP

(“FLH”), however, used its own in-house litigation support team to perform the e-discovery

work in this case. Accordingly, The Medicines Company has submitted its time entries for its




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litigation-support team. See Ex. 11.

         These time entries reflect the work required to produce documents from April 2011 to

August 2013 and show that the FLH litigation-support team performed the following e-discovery

tasks: extracted and created OCR data and metadata for the files to be produced, converted files

into tiff images so that they could be viewed in a litigation-support database, Bates stamped the

tiff images, loaded the tiff images into Summation, and transferred the files to a storage medium

(CD, DVD, or hard drive) for shipping. See Ex. 11. The Medicines Company produced over 4.5

million pages to Mylan and the amount sought for e-discovery costs ($9,505.00) is reasonable

and recoverable under Section 1920(4). See, e.g., Comrie v. IPSCO Inc., No. 08 CV 3060, 2010

U.S. Dist. LEXIS 128217, at *10 (N.D. Ill. Dec. 1, 2010) (citations omitted). Furthermore, the

electronic discovery costs that The Medicines Company seeks are consistent with or below the

costs awarded in other litigations for similar work. See, e.g., LG Elecs., 2011 U.S. Dist. LEXIS

121361, at *24-25 (granting approximately $35,000 in e-discovery costs); United States ex rel.

Yannacopoulos v. Gen. Dynamics, No. 03 C 3012, 2012 U.S. Dist. LEXIS 68071, at *8-9 (N.D.

Ill. May 15, 2012) (awarding approximately $64,000 in electronic discovery costs); Chi. Bd.

Options Exch., Inc. v. Int’l Secs. Exch., LLC, No: 07 CV 623, 2014 U.S. Dist. LEXIS 4701, at

*34-35 (N.D. Ill. Jan. 14, 2014) (awarding $41,000 for the conversion and creation of readable

electronic discovery and $24,000 for “endorsements, scanning, bates stamping, and media”).

II.      CONCLUSION

         The Medicines Company respectfully requests that Mylan be taxed the sum of

$260,324.44 as recoverable costs. The Medicines Company has provided supporting invoices

for each cost requested and believes that they are reasonable. Should this Court require further

accounting of costs, The Medicines Company is prepared to do so in any manner directed by the

Court.


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Respectfully submitted this 12th day of December 2014.

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                                CERTIFICATE OF SERVICE

       I, Patricia S. Smart, certify that on this 12th day of December 2014 I electronically filed

The Medicines Company’s Motion for a Bill of Costs with the Clerk of Court using the CM/ECF

system, which will send notification of such filing to counsel of record including:

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